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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11     WILLIENE JACKSON-JONES,                    Case No. 2:23-cv-02567-ODW-SK
 12     individually and on behalf of all others
        situated,                                  ORDER GRANTING JOINT
 13                                                STIPULATION TO EXTEND
                     Plaintiff,                    CERTAIN BRIEFING
 14                                                DEADLINES AND HEARING
               v.                                  ON PLAINTIFF’S MOTION
 15                                                FOR CLASS CERTIFICATION
 16     EPOCH EVERLASTING PLAY, LLC,
        a Delaware limited liability company,
 17     TARGET CORPORATION, a
        Minnesota corporation, and
 18     AMAZON.COM SERVICES LLC, a
        Delaware corporation,
 19                  Defendants.
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  1                                          ORDER
  2         This matter comes before the Court on the Parties’ Joint Stipulation to Extend
  3   Certain Briefing Deadlines and Hearing on Plaintiffs’ Motion for Class Certification.
  4         Having read and considered the Joint Stipulation, and for good cause shown,
  5   the Court hereby GRANTS the stipulation. The briefing deadlines and hearing on
  6   Plaintiffs’ Motion for Class Certification shall be adjusted as set forth below:
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  8                                      CURRENT DATE              PROPOSED DATE
       Deadline to File Motion for       Filed March 11, 2024      Filed March 11, 2024
  9    Class Certification
 10    Deadline to File Opposition to    May 3, 2024               May 17, 2024
       Motion for Class Certification
 11
       Deadline to File Reply re         May 17, 2024              June 7, 2024
 12    Motion for Class Certification
       Hearing on Motion for Class       Monday, June 10,          Monday, June 24, 2024
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       Certification at 1:30 p.m.        2024 at 1:30 p.m.         at 1:30 p.m.
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            IT IS SO ORDERED.
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      DATED: _April 15, 2024                     __________________________________
 20                                              The Honorable Judge Otis D. Wright II
                                                 U.S. District Judge
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